Case 9:20-md-02924-RLR Document 573 Entered on FLSD Docket 04/09/2020 Page 1 of 1


                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE) PRODUCTS                                                MDL NO. 2924
   LIABILITY LITIGATION                                                                20-MD-2924

                                                                  JUDGE ROBIN L. ROSENBERG

                                                 MAGISTRATE JUDGE BRUCE E. REINHART
                                         /

                  CERTIFICATE OF UNDERSTANDING REGARDING
            ELECTRONIC FILING IN THE SOUTHERN DISTRICT OF FLORIDA

          I, the undersigned, do hereby certify that:

          1.      I am a member of good standing of the Bar of California.

           2.      I have studied, understand, and will abide by the Local Rules for the Southern
   District of Florida.

          3.    I have studied, understand, and will abide by the Administrative Procedures
   governing CM/ECF procedures in the Southern District of Florida.

          4.      I will only use this electronic filing privilege in the matter captioned above and in
   no other case in the Southern District of Florida, even if I have been granted pro hac vice status in
   another case in the Southern District of Florida.

          5.     I understand and agree that any misuse of this electronic filing privilege will be
   brought to the attention of the Honorable Robin L. Rosenberg and that this privilege may be
   revoked at any time without notice.

           6.     If any of the information below changes during the course of this action, I shall file
   a notice of such change in the MDL action, and I shall update my CM/ECF user account pursuant
   to the Administrative Procedures.

                  Name                   Michael L. Baum
                  State Bar Number       California - 119511
                  Firm Name              Baum Hedlund Aristei & Goldman
                  Mailing Address        10940 Wilshire Blvd, 17th Floor
                                         Los Angeles, CA 90024
                  Telephone Number       (310) 207-3233
                  Email Address          mbaum@baumhedlundlaw.com

   Attorney Signature:                                                  Date: 04/09/2020
